







		NO. 12-08-00265-CR



IN THE COURT OF APPEALS



TWELFTH COURT OF APPEALS DISTRICT



TYLER, TEXAS




§
	

IN RE: WILLIAM WHITE,

RELATOR§
	ORIGINAL PROCEEDING


§
	






MEMORANDUM OPINION


PER CURIAM


	William White filed a petition for writ of mandamus requesting that we order the Texas
Board of Pardons and Paroles to give him credit for time served while awaiting his transport to the
State's Substance Abuse Felony Program (SAFP).  This court has no mandamus jurisdiction over
the Texas Board of Pardons and Paroles.  See Tex. Gov't Code Ann. § 22.221 (Vernon 2004). 
Accordingly, the petition for writ of mandamus is dismissed for want of jurisdiction.

Opinion delivered June 18, 2008.

Panel consisted of Worthen, C.J., Griffith, J., and Hoyle, J.








(DO NOT PUBLISH)


